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11
                          UNITED STATES DISTRICT COURT
12
                        CENTRAL DISTRICT OF CALIFORNIA
13
14   IN RE SUBPOENA TO                            Misc. Case No. 2:18-mc-125
15
     IP-ECHELON PTY, LTD                          (Civil Action No. 1:17-cv-00365-LY)
16                                                (currently pending in the United States
17                                                District Court for the Western District of
                                                  Texas)
18
19
     Related Action:                              CERTIFICATE OF INTERESTED
20                                                PARTIES
21   UMG RECORDINGS, INC. et al.,
22                Plaintiffs,
23
             v.
24
25   GRANDE COMMUNICATIONS
     NETWORKS LLC,
26
27                Defendant.
28

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 1   TO THE COURT, ALL PARTIES, AND COUNSEL OF RECORD:
 2           The undersigned, counsel of record for Defendant Grande Communications
 3   Networks LLC certify that the following parties have a direct, pecuniary interest in the
 4   outcome of this case. This representation is made to enable the Court to evaluate
 5   possible disqualification or recusal.
 6           1.    UMG RECORDINGS, INC., CAPITOL RECORDS, LLC
 7           2.    WARNER BROS. RECORDS INC.
 8           3.    SONY MUSIC ENTERTAINMENT
 9           4.    ARISTA RECORDS LLC
10           5.    ARISTA MUSIC
11           6.    ATLANTIC RECORDING CORPORATION
12           7.    CAPITOL CHRISTIAN MUSIC GROUP, INC.
13           8.    ELEKTRA ENTERTAINMENT GROUP INC.
14           9.    FONOVISA, INC.
15           10.   FUELED BY RAMEN LLC
16           11.   LAFACE RECORDS LLC
17           12.   NONESUCH RECORDS INC.
18           13.   RHINO ENTERTAINMENT COMPANY
19           14.   ROADRUNNER RECORDS, INC.
20           15.   ROC-A-FELLA RECORDS, LLC
21           16.   TOOTH & NAIL, LLC
22           17.   ZOMBA RECORDING LLC
23           18.   GRANDE COMMUNICATIONS NETWORKS LLC
24           19.   PATRIOT MEDIA CONSULTING, LLC
25           20.   IP-ECHELON PTY, LTD
26   ///
27   ///
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 1           21.   GRANDE COMMUNICATIONS NETWORKS LLC
 2           22.   Grande Parent LLC
 3
 4
 5   Dated: September 14, 2018.
 6
 7                                     By: /s/ Ian A. Stewart
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